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                        EXHIBIT D
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        Expert Witness Michael F. Arrigo – Cases Where Testimony has been Provided
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            Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator




               Michael F. Arrigo Expert Witness Litigation Experience

                      Cases Where Expert has Provided Testimony

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                   Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator

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   Federal Cases
   •   (R) U.S. and California ex rel. Julie Macias v. Pacific Health et al
   Case CV-12-00960 RSWL Expert report July 2017. Provide an opinion of the amount of
   damages for both Medicare Part A and Part B and Medi-Cal based on potential fraud,
   improper patient referrals and anti-kickback violations, cost report fraud, and claims
   submitted for services provided by physicians and clinical staff for a free-standing
   psychiatric hospital and a hospital that was designated as a Disproportionate Share
   Hospital (‘DSH’). Basis of opinions: analysis of over 1 million claim files, patient
   records and supporting documents, use of industry best practices and guidelines; The
   U.S. Department of Health and Human Services Centers for Medicare and Medicaid
   (CMS) views health care providers as vital in protecting the integrity of the Medicare
   Program by submitting accurate claims, maintaining current knowledge of Medicare
   billing policies, and ensuring all documentation required to support the medical need for
   the service rendered is submitted when requested by the MAC. Medical Necessity
   standards, “In addition to correct claims completion, Medicare coverage and payment is
   contingent upon a determination that an item or service:

   • Meets a benefit category;
   • Is not specifically excluded from coverage; and
   • Is reasonable and necessary.1




   1Medicare Billing: 837I and Form CMS-1450, source: U.S. Department of HHS, Centers
   for Medicare and Medicaid. https://www.cms.gov/Outreach-and-Education/Medicare-
   Learning-Network-MLN/MLNProducts/Downloads/837I-FormCMS-1450-
   ICN006926.pdf



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   •       (P) Jenee Hill on behalf of herself and all others v United Healthcare Insurance

       United States District Court, Central District of California, Southern Division. Case
       SACV15-00526 DOC (RNBx). Declaration March 6, 2017 in support of Plaintiff’s
       reply to opposition to renewed motion to certify case as a class action. Opinions
       regarding the function of Utilization Management best practices and regarding health
       plan industry best practices, generally accepted industry standards and customary
       guidelines followed by health plans in the normal course of business processes, and
       information technology with respect to UHIC’s ability to identify members for which it
       has denied requests for prior authorization for a surgical procedure associated with CPT
       medical code 22857, health plan H-Plan identifiers, and Medical Loss Ratio reporting.

       •    (P) Confidential v. Confidential in matter before Federal Trade Commission

       Preparation for litigation filings in California, New York, Florida, Texas State
       Attorneys General - Estimates of financial impact on U.S. health population under fee
       for service Medicine and health insurance reimbursement rates under both fee for
       service medicine and risk adjusted value based care, and how rates are set based on
       Computer Assisted Coding and the Affordable Care Act. Litigants are two of the largest
       healthcare firms in America with market capitalizations of over $10 billion. Medical
       coding and economics healthcare expert consultant for landmark litigation; worked
       directly with former RAND Economists, Jonathan Schiller at Boies Schiller and
       Flexner LLP re provider ICD-9, CPT and ICD-10 medical coding and billing as
       provided for in 45 CFR 162.1002 that adopted the ICD-10-CM and ICD-10 PCS code
       sets as HIPAA standards. Prepared for expert testimony which counsel anticipated
       would go before Commissioner Brill or Ramirez regarding functions of encoder
       software, computer assisted coding, Meaningful Use of Electronic Health Records
       under the ARRA HITECH Act, access to data as precursor to computer assisted coding,
       anti-trust and macroeconomics of care in health plans based on data interoperability;
       consideration of IT switching costs, payor-provider contracting practices and




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     economics; preparation for expert report and Daubert hearing; case settled and sealed.
     Expert report. Due to the terms of the settlement agreement, the case is sealed and I am
     not permitted to disclose the names of the litigants.

     •   (D) U.S. Attorney General v. Confidential Hospital System in Ohio

     Prepare and deliver testimony before AUSA, OIG, HHS and FBI re: investigation into
     Meaningful Use of Electronic Health records (ONC certification of software and CMS,
     Medicaid Attestations) to defend client against potential litigation related to False
     Claims Act.

            o 45 CFR §170.314 (subsections); 45 CFR §170.304 electronic health record
              certification criteria (Meaningful Use)
            o HIPAA Privacy and Security Assessment
            o 31 U.S.C. § 3729. (a) False Claims Act with respect to IT systems,
              processes and people to maintain accurate records.


     •   (‘R) United States Ex. Rel. Manijeh Nikakhtar MD v. Mission City, Nick Gupta

     CV 12-3692-PSG (SHX) - United States District Court, Central District of California.
     Expert report 2015. Opinion re: industry best practices and guidelines to comply with
     Section 10501(i)(3)(B) of the Affordable Care Act, and whether data reporting under
     the ACA is also a financial matter of reimbursement for both CMS / Medicare and
     California State Medi-Cal during the transition from the All-Inclusive Rate
     Reimbursement (AIRR) to a new Prospective Payment System (PPS) for Federally
     Qualified Health Centers (FQHC) and any differences in reimbursement based on
     national and regional standards and unit of work measures called Relative Value Units
     (RVUs). Evaluation of Freedom of Information Act (FOIA) obtained materials
     regarding FQHC compliance to U.S. HHS / Health Resources and Services (HRSA)
     standards and Medicare Part C reimbursement under risk adjustment scenarios.
     Evaluation and management (E&M), pathology, medication management fees and other
     coding and billing regulations and industry best practices. Patient population includes
     skilled nursing, behavioral health, ambulatory settings.




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       •     (D) United States Ex. Rel. v. Michael Mirando and Holter Labs – CASE NUMBER
            CR 16-0215 - United States District Court, Central District of California. Opinion
            re: Damages calculations. Expert report March 2016. Damages hearing August
            2017. Independent Diagnostic Testing Facility (IDTF), use of FDA Approved
            devices for ECG and EEGs, associated CPT codes, patient charts, government
            methodologies. Damages calculations for potential sentencing and restitution.
            Examination of FDA 510(k) forms, frequency sampling rates vs. comparable
            marketed devices for ECG and EKG. Statistical sampling of patient charts,
            projected accuracy in Government’s methodology compared to sample sizes
            required for 95% to 99% certainty (‘beyond reasonable doubt’) vs. 51% ‘reasonable
            degree of certainty.’ Produce analytics of claims data, patient referrals for damages
            calculations. Medical procedures included:

            95812 - Electroencephalogram (EEG) extended monitoring; 41-60 minutes
            95813 - Electroencephalogram (EEG) extended monitoring; greater than 1 hour
            95816 - Electroencephalogram (EEG); including recording awake and drowsy
            95819 - Electroencephalogram (EEG); including recording awake and asleep
            95822 - Electroencephalogram (EEG); recording in coma or sleep only
            95827 - Electroencephalogram (EEG); all night recording
            95950 - Monitoring for identification and lateralization of cerebral seizure focus,
            electroencephalographic (e.g., 8 channel EEG) recording and interpretation, each 24
            hours
            95951 - Monitoring for localization of cerebral seizure focus by cable or radio, 16
            or more channel telemetry, combined electroencephalographic (EEG) and video
            recording and interpretation (e.g., for presurgical localization), each 24 hours
            95953 - Monitoring for localization of cerebral seizure focus by computerized
            portable 16 or more channel EEG, electroencephalographic (EEG) recording and
            interpretation, each 24 hours, unattended.



   •       (P) Allstate v Confidential Defendants

   Damages report November 2015. Michigan retained as expert to evaluate nationwide
   diagnostic imaging reimbursement damages for professional component (PC) and




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   technical component (TC) as well as RVUs focusing on Magnetic Resonance Imaging
   (MRI) Usual, Customary and Reasonable pricing, CPT coding and billing and resulting
   charges, and supporting clinical data - Criteria for determining reasonable charges 45
   CFR §405.502; Michigan State automobile insurance (no-fault). No case filed at time of
   expert report.

   State Cases

   •    (D) San Francisco Spine Surgeons, LLC v. Claim Works LLC.
        JAMS Reference No. 1110018697, hearing held October 2017 in San Jose, California
        (Ambler, Arb). Deposition and testimony at hearing. Loss / damages calculations
        opinions in a dispute between a health care provider and billing company. Analysis of
        thousands of lines of claim data using industry best practices to determine reliability
        of the data for damages / loss calculations. Opine re: duties of health care provider
        and billing company based on knowledge training education and experience, industry
        best practices and guidelines and U.S. H.H.S. Office of Inspector General (OIG)
        guidance for third-party billing relationships. Prepare rebuttal to expert on proper
        medical coding, billing and loss / damages calculations. Certified as an expert by
        Judge ambler, stipulated to by counsel for both litigants.


   •    (P) HITECH Medical Consulting v. NextCare

       Case No. CV2015-00435D Superior Court of the State of Arizona, County of Maricopa.
       Trial November 2016. Breach of contract, Unjust Enrichment, Contractual Bad Faith
       involving consulting firm’s implementation of Electronic Health Records in an effort to
       comply with the ARRA HITECH Act of 2009, Meaningful Use, and HIPAA Standards.
       Retained to educate attorneys and ultimately the trier of fact regarding the Electronic
       Health Records, HITECH, and HIPAA, what the implementation and compliance
       process is, meaningful use core measures and menu measures, quality reporting,
       meaningful use audits, false information and risks of false claims act. Explain what
       patient engagement, smoking status, inoculations, clinical decision support patient




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     education materials are and why relevant to compliance with Meaningful Use. Discuss
     certification process for Electronic Health Records and billing with respect to medical
     diagnosis, medical procedures and associated medical codes. Discuss role of U.S. HHS
     Centers for Medicare and Medicaid, Office of National Coordinator, Regional
     Extension Centers in achieving Meaningful Use. Opinions regarding implementation
     best practices, whether HITECH Med Consulting met best practices, attestation
     attempts, failures, and success rates as reported by U.S. HHS / CMS and why this is
     relevant. Some relevant statutory requirements of the case involving my testimony
     included but were not limited to:

     •   45 CFR §170.314 (subsections); 45 CFR §170.304 electronic health record
         certification criteria (Meaningful Use)
     •   HIPAA Privacy and Security Assessments and HITECH Act to ensure the privacy
         and security and safeguarding of information.
     •   Accuracy of clinical information
     •   31 U.S.C. § 3729. (a) False Claims Act with respect to IT systems, processes and
         people to maintain accurate records.

     •   (D) SF Spine v. Claimworks JAMS Reference No. 1110018697

         Rebuttal expert regarding damages in a dispute between a physician practice and
         their outsourced medical billing company regarding damages, industry best
         practices for medical billing companies and the duties of health care providers in
         facilitating and maximizing billing reimbursements with third party billing
         companies. Basis in addition to knowledge training education and experience
         including U.S. HHS OIG Guidelines for third party billing companies, claims
         processing and denials, reasons for denials and whether those denials are likely
         caused by billing company or provider. Deposition testimony June12, 2017.
         Arbitration June 2017.

     •   (D) Billrite billing solutions, Inc. Spine and & Nerve Diagnostic Center.




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        34-2014-00166608 SUPERIOR COURT OF THE STATE OF CALIFORNIA
        COUNTY OF SACRAMENTO- serve as expert consultant regarding billing practices
        and HIPAA Privacy and Security practices in a case involving outsourced medical
        billing. Opinions regarding 45 CF § 164.402(1) definition of Breach, exclusions for
        good faith and inadvertent disclosures; 45 CFR 160.103(4)(3) definition of HIPAA
        Covered Entity and duties; policies and procedures to address security incidents. This
        includes (i) identifying and responding to suspected or known security incidents, (ii)
        mitigating, to the extent practicable, harmful effects of security incidents that are
        known to the covered entity, and (iii) documenting security incidents and their
        outcomes. (See 45 CFR 164.308(a)(6).) obtain satisfactory assurances to protect ePHI
        (164.314(a)); HITECH Act of 2009, a BA's disclosure, handling and use of PHI must
        comply with HIPAA Security Rule and HIPAA Privacy Rule mandates. Industry best
        practices and guidelines regarding Business Associates, Business Associate
        Agreements. Deposition February 2017.

    •    (D) McDermott v. Children’s Hospital of Philadelphia
    In the State of Pennsylvania, County of Philadelphia, Case December 2014 term, NO.
    003103. Declaration 2016. Opinions regarding alleged $9.8 million in damages as future
    medical expenses covered generally under insurance and specifically under ACA plans,
    Medicaid and Medicaid waivers and under what conditions they would be covered.
    Review deposition testimony of opposing counsel’s healthcare economist, medical
    experts and consider Affordable Care Act and the policies of insurance available under
    the ACA through the New Jersey or Pennsylvania Insurance Exchanges, Medicaid
    expansion, Federal Poverty Level (FPL) calculations, as well as dual eligible Medicare
    and Medicaid post age 65, Medicaid under a §1915(c) of the Social Security Act, Home
    and Community-Based Services Waiver Medicare-Medicaid Coordinated Plan (MMCP),
    Minimum Essential Coverage (MEC) and Essential Health Benefits (EHB), analysis as
    described in New Jersey Law (case venue is Pennsylvania, at the time of this update the
    court has determined it will be heard under New Jersey Law). Evaluate metal plan
    coverage by actuarial value, and cost sharing subsidies to estimate maximum out of



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    pocket for lifetime of patient. Compare Life Care plans and prescribed medical services
    to those covered in State Benchmark Plans. Determine applicability of Prohibition of
    Preexisting Condition Exclusions (45 CFR § 147.108) and disabilities. Discuss impact of
    ACA on companion laws and standards that cover disabled individuals and workplace
    accommodations for essential job functions, such as Rights and Responsibilities under
    Section 504 and the Americans with Disabilities Act (ADA) and the Olmstead Plan
    (including duties of ‘Covered Entities’ aka “HIPAA Covered Entities” which means,
    health care providers, payors and others). Section 1557 of the Patient Protection and
    Affordable Care Act (ACA), regulations regarding people with disabilities with respect to
    available benefits. Section 1557 is intended to “…ensure that an individual is not
    excluded from participating in, denied benefits because of, or subjected to discrimination
    as prohibited under Section 504 of the Rehabilitation Act of 1973 (disability).


    •    (P) Graewingholt et al v St. Josephs’ Health System
        Judicial Council Coordinated Proceeding No. 4716 Master Class Action Complaint in
        Superior Court of the State of California, County of Orange - class action before
        Honorable Kim G. Dunning, 8 Dep’t CX 104; filed conditionally under seal per CRC
        2.551 class action litigation related to HIPAA privacy and security breach involving $8
        billion health system, disclosures under HIPAA Privacy and Security, California
        Confidentiality of Medical Information Act (CA Civil Code §56 et seq.) Opinions: laws,
        best practices and procedures for privacy and security, duty to keep records protected,
        ICD-9, DRG, CPT coding, and pricing, and economic impact. Third party FOIA
        discovery with CMS, OIG, OCR, related contractors, ARRA HITECH Act and
        Meaningful Use attestations and payments. Review of 31,000 patient records for CMIA
        medical data stored in Meditech, including diagnosis codes, problem lists, lab data,
        BMI and other HIPAA PHI. Statutes and best practices including:
             •   HIPAA Privacy and Security (45 CFR §162.1002 45 CFR §164.308
                 (subsections),
             •   45 CFR §164.410 (subsections), notification by a business associate
             •   45 CFR §164.502 (subsections), Uses and disclosures of protected health



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                 information
             •   45 CFR 164.512 - Uses and disclosures for which an authorization or
                 opportunity to agree or object is not required, especially § 164.512(j)(1) Uses
                 and disclosures to avert a serious threat to health or safety and §
                 164.512(j)(2-4) Use or disclosure not permitted.
             •   45 CFR §170.314 (subsections); electronic health record certification criteria
                 (Meaningful Use)
             •   31 U.S.C. § 3729. (a) False Claims Act;
             •   California Confidentiality of Medical Information Act (CA Civil Code §56 et
                 seq.)
             •   ARRA HITECH Act reporting procedures and documentation, attestations and
                 stimulus funds eligibility based on evaluation of over 33 measures,
                 information safeguards, operating procedures. Expert Report 2015.

             •   Cost expenditures based on HITECH Act Final Rule, HIPAA Final Rule in
                 support of counsel’s damages theories.


    •    (D) Confidential Plaintiff v. Pasadena School District
        BC 457 096 Superior Court of the State of California for the County of Los Angeles.
        HIPAA privacy and security, disclosures under HIPAA Privacy and Security.
        Opinions: laws, best practices and procedures for privacy and security, duty to keep
        records protected, whether there is a duty to disclose records. Relevant statutes and best
        practices include: 45 CFR 164.512 - Uses and disclosures for which an authorization or
        opportunity to agree or object is not required, especially § 164.512(j)(1) Uses and
        disclosures to avert a serious threat to health or safety and § 164.512(j) (2-4) Use or
        disclosure not permitted (Tarrasoff standard). Deposition, 2015.




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     •   (P) R.D., vs. Providence Health Services et al,

    14-2-33747-7 SEA in The Superior Court of the State of Washington in and for the
    County of King – HIPAA privacy and security breach involving alleged unauthorized
    breach of HIV diagnosis at multi-billion-dollar health system, disclosures under HIPAA
    Privacy and Security. Examine EPIC EMR and Onbase electronic health record
    Meaningful Use compliance according to industry best practices and guidelines.
    Opinions: laws, best practices and procedures for privacy and security, duty to keep
    records protected, related contractors, ARRA HITECH Act and Meaningful Use
    attestations and security best practices. Potential citations of statutes and cases including:
           •   HIPAA Privacy and Security (45 CFR §162.1002 45 CFR §164.308
               (subsections)),
           •   45 CFR §164.410 (subsections), notification by a business associate
           •   45 CFR §164.502 (subsections), Uses and disclosures of protected health
               information
           •   45 CFR §170.314 (subsections); electronic health record certification criteria
               (Meaningful Use)
           •   31 U.S.C. § 3729. (a) False Claims Act;
           •   ARRA HITECH Act reporting procedures and documentation, attestations and
               stimulus funds eligibility based on evaluation of over 33 measures,
               information safeguards, operating procedures.
           •   Joint Commission standards for healthcare staffing firms, Medicare and
               Medicaid eligibility Conditions of Participation (CoPs) or Conditions for
               Coverage (CfCs)
           •   Wash. Admin. Code § 246-455-080 Security and Release of Reported
               Hospital Patient Discharge Data




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                      (2) … security and system safeguards to prevent and detect unauthorized
                      access, modification, or manipulation of individually identifiable health
                      information. Accordingly, the safeguards will include:
                               (a) Documented formal procedures for handling the information;
                               (b) Physical safeguards to protect computer systems and other
                               pertinent equipment from intrusion;
                               (c) Processes to protect, control and audit access to the
                               information;
                               (d) Processes to protect the information from unauthorized access
                               or disclosure when it is transmitted over communication networks;
                               (e) Processes to protect the information when it is physically
                               moved from one location to another;
                               (f) Processes to ensure the information is encrypted when:
                               (i) It resides in an area that is readily accessible by individuals who
                               are not authorized to access the information (e.g., shared network
                               drives or outside the agency data centers);
                               (ii) It is stored in a format that is easily accessible by individuals
                               who are not authorized to access the information (e.g., text files
                               and spreadsheets);
                      o Wash. Rev. Code § 70.02.170 Civil remedies – Declaration 2016.


    •     (D) Confidential Plaintiff (Jane Doe) v. Brigham and Women’s Hospital.
        C.A. No. 2014-0007-B Suffolk Superior Court, Massachusetts. Evaluate whether best
        practices in HIPAA Privacy and Security were used to prevent HIPAA privacy breach.
        Opinions: laws, best practices and procedures for privacy and security, duty to keep
        records protected. Third party FOIA discovery with CMS, OIG, OCR, related
        contractors, ARRA HITECH Act and Meaningful Use attestations patient portal
        security best practices. Potential citations of statutes and cases including:
           •   Massachusetts State Statute: Standards for the Protection of Personal




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             Information of Residents of the Commonwealth, as set forth in M.G.L. c. 93H
             and 201 C.M.R. 17.00, et seq HIPAA Privacy and Security (45 CFR §162.1002
             45 CFR §164.308 (subsections)),
         •   45 CFR §164.502 (subsections), Uses and disclosures of protected health
             information
         •   45 CFR §170.314 (subsections); electronic health record certification criteria
             (Meaningful Use)
         •   Declaration 2016


     •   (P) Jane Doe vs United Medical Center and Innovative Staffing Solutions. Case
         No. 2015 CA 003716 B in Superior Court for the District of Columbia. Opinions
         regarding industry best practices and guidelines for health care providers and the
         Certification Review Process / Health Care Staffing Services Certification
         Personnel File Review. Joint Commission standards for healthcare staffing firms,
         Medicare and Medicaid eligibility Conditions of Participation (CoPs) or Conditions
         for Coverage (CfCs). Declaration 2016.

         1. Current licensure, certification, or registration required by the state, the firm, or
             customer from primary sources
         2. Education and training associated with residency or advanced practice,
             experience, and competency appropriate for assigned responsibilities
         3. Clinical work history/references
         4. Initial and ongoing evaluation of competency
         5. Information on criminal background according to law, regulation, and customer
             requirements
         6. Compliance with applicable health screening and immunization requirements
             established by the firm or customer
         7. Information on sanctions or limitations against an individual’s license is
             reviewed upon hire, and upon reactivation or expiration. For
         8. individuals who are practicing as Licensed Independent Practitioners, in



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             addition to the aforementioned requirements, the firm performs the following
             according to law, regulation, and firm policy: Voluntary and involuntary
             relinquishment of any license or registration is verified and documented
          9. Voluntary and involuntary termination of hospital medical staff membership is
             verified and documented
          10.        Any evidence of an unusual pattern or an excessive number of
             professional liability actions resulting in a final judgment against the applicant
             is investigated and documented
          11.        Documentation that the clinical staff person has received orientation from
             the organization


    •   (P) Jessica Umstead, Plaintiff v. Mercy Hospital, Cedar Rapids Iowa
    In the Iowa District Court in and for Linn County. No. LACV 086191. Declaration 2017.
    Opinions – whether Mercy Hospital, Cedar Rapids (“Mercy”) is a HIPAA Covered Entity
    (“CE”) and is subject to Federal and state regulations, including the HIPAA Privacy and
    Security Rules and the ARRA HITECH Act and Administrative Safeguards, Physical
    Safeguards, Technical Safeguards, Documented Organizational Policies, Procedures,
    whether Workforce member of a CE, has duties under the both HIPAA and the HITECH
    Act Safeguards, CE policies and training protocols, corrective actions, information access
    controls, and supervision of its workforce. Patients reasonable expectation that their
    sensitive Protected Health Information (“PHI”) will be kept private, damages that are
    commonly awarded to patients whose PHI accessed or are released without authorization,
    Mercy’s policies and procedures are in direct conflict with statutes, industry best
    practices and guidelines to protect PHI. Whether Mercy was met standards mandated by
    Behavioral Health Unit. 42 CFR Part 2 and Iowa Code 228 which provides specific
    protection from disclosure of mental health information and requires that upon disclosure,
    the patient is notified that an unauthorized disclosure of mental health information is
    unlawful, and that civil damages and criminal penalties may be applicable to the
    unauthorized disclosure of mental health information, corrective action including




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    Workforce member sanctions. See § 164.308(a)(1)(ii)(A) ) and SANCTION POLICY §
    164.308(a)(1)(ii)(C). Violation of the Minimum Necessary Standard. (See 42 CFR
    164.502(b)); Failure to detect, prevent and correct security violations. §164.308(a)(1),
    2013 HIPAA Omnibus Final Rule, Access Control Standard provided for in §
    164.312(a)(1) by failing to ensure access controls only provided the minimum necessary
    access. Whether Electronic Health Record system was not configured to perform an
    Automatic Logoff per §164.312(a)(2)(iii)) duty to mitigate harm but failed to do so. (See
    45 C.F.R. § 164.402 (Subpart D) and whether there was a violation of Iowa Code Section
    22.7 regarding confidentiality of medical records and Iowa Code 228 regarding
    protection from disclosure of mental health information.
    •   (P) Jacqueline Krouse v. Avera Health and Chris Krouse
    Case 15-3083 State of South Dakota, County of Minnehaha, Second Judicial Circuit.
    Declaration 28th of February 2017, Deposition May 2017. Opinions – whether Avera
    Hospital, Cedar Rapids (“Avera”) is a HIPAA Covered Entity (“CE”) and is subject to
    Federal and state regulations, including the HIPAA Privacy and Security Rules and the
    ARRA HITECH Act and Administrative Safeguards, Physical Safeguards, Technical
    Safeguards, Documented Organizational Policies, Procedures, whether Workforce
    member of a CE, has duties under the both HIPAA and the HITECH Act Safeguards, CE
    policies and training protocols, corrective actions, information access controls, and
    supervision of its workforce. Patients reasonable expectation that their sensitive Protected
    Health Information (“PHI”) will be kept private, damages that are commonly awarded to
    patients whose PHI accessed or are released without authorization, Avera’s policies and
    procedures are in direct conflict with statutes, industry best practices and guidelines to
    protect PHI. Whether Avera was met standards mandated by Behavioral Health Unit. 42
    CFR Part 2 Workforce member sanctions. See § 164.308(a)(1)(ii)(A) ) and SANCTION
    POLICY § 164.308(a)(1)(ii)(C). Violation of the Minimum Necessary Standard. (See 42
    CFR 164.502(b)); Failure to detect, prevent and correct security violations. §
    164.308(a)(1), 2013 HIPAA Omnibus Final Rule, Access Control Standard provided for
    in § 164.312(a)(1) by failing to ensure access controls only provided the minimum




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    necessary access. Whether Electronic Health Record system was not configured to
    perform an Automatic Logoff per §164.312(a)(2)(iii)) duty to mitigate harm but failed to
    do so. (See 45 C.F.R. § 164.402 (Subpart D).


    •   (P) FT v. Children’s Mercy Hospital

    Case No.: 1616-CV01466. Deposition April 2017. Opinions and basis:
    Principles Statutes Industry Best Practices and Guidelines
    1. The HIPAA Breach Notification Rule, 45 CFR §§ 164.400-414, requires HIPAA
        covered entities and their business associates to provide notification following a
        breach of unsecured protected health information.
        a. A breach is, generally, an impermissible use or disclosure under the Privacy Rule
           that compromises the security or privacy of the protected health information. An
           impermissible use or disclosure of protected health information is presumed to be
           a breach unless the covered entity or business associate, as applicable,
           demonstrates that there is a low probability that the protected health information
           has been compromised based on a risk assessment of at least the following factors:
                i. The nature and extent of the protected health information involved,
                    including the types of identifiers and the likelihood of re-identification;
               ii. The unauthorized person who used the protected health information or to
                    whom the disclosure was made;
              iii. Whether the protected health information was actually acquired or viewed;
                    and
               iv. The extent to which the risk to the protected health information has been
                    mitigated.
    2. Provider’s compliance to HIPAA Privacy and Security Rules and the HITECH Act
        related to the breach, including
                    a. Providers’ Security Incident Procedures provided for in §
                          164.308(a)(6) i ii




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                   b. Provider’s methods for conducting a Breach Evaluation regarding
                       access of Plaintiff medical records iii
                   c. Provider’s Response and Reporting results of the Breach Evaluationiv
                       regarding access of Plaintiff’s medical records provided for in §
                       164.308(a)(6)(ii)v
                   d. Provider’s identification of any for failures to follow industry best
                       practices and guidelines to obtain reasonable assurances vi and a
                       Business Associate Agreement from any subcontractors jointly
                       responsible for maintaining any breached system(s).vii viii ix
    3. Prior reports and complaints against Provider regarding improper access to patients’
       medical records;
    4. American Recovery and Reinvestment Act (ARRA) Health Information Technology
       for Economic and Clinical Health Act (HITECH) related issues, including compliance
       with associated federal rules and regulations;
                   a. Provider’s Risk Analysis, Risk Management, x Sanction Policy and
                       Information System Review, and annual updates to the Risk Analysis
                       xi xii xiii
                                     in general for the year prior, the year of, and the year after the
                       breach.
                   b. Provider’s Information Systems Activity Review
                       (§ 164.308(a)(1)(ii)(D)xiv
                   c. Provider’s findings from Risk Analysis, specifically:xv
                              i. What security measures were used to protect ePHI during
                                     transmission?
                             ii. Did the risk analysis identify scenarios that may result in
                                     modification to ePHI by unauthorized sources during
                                     transmission?
                   d. Provider’s audit controls under § 164.312(b) that monitor access of
                                                                                             xvi
                       electronic         protected    health    information       (ePHI)             including
                       implementation of hardware, software, and/or procedural mechanisms




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                     that record and examine activity in information systems that contain or
                     use electronic protected health informationxvii specifically:
                           i. What audit control mechanisms were reasonable and
                               appropriate to implement so as to record and examine activity
                               in information systems that contain or use ePHI?
                          ii. What are the audit control capabilities of information systems
                               with ePHI?
                         iii. Did the audit controls implemented allow the organization to
                               adhere to policy and procedures developed to comply with the
                               required          implementation             specification           at        §
                               164.308(a)(1)(ii)(D) for Information System Activity Review?
                 e. Access Control Standard § 164.312(a)(1) – enabling authorized users
                     to access the minimum necessary information needed to perform job
                     functions. xviii
                 f. Information Access Management provided for in § 164.308(a)(4)xix
                 g. Person or Entity Authentication provided for in § 164.312(d) xx
                 h. Provider’s compliance with Security Awareness and Training
                     including Security Reminders, Log-in Monitoring provided for in §
                     164.308(a)(5). xxi
                 i. Workforce Security as provided for in § 164.308(a)(3) xxii
                j. Authorization           and     Supervision         as     provided       for         in   §
                     164.308(a)(3)(ii)(A) xxiii Specifically:
                           i. Are detailed job descriptions used to determine what level of
                               access the person holding the position should have to ePHI?
                          ii. Who has or should have the authority to determine who can
                               access ePHI, e.g., supervisors or managers?
                         iii. Are there similar existing processes used for paper records that
                               could be used as an example for the ePHI?




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                   k. Workforce          Clearance       Procedure        as    provided       for    in   §
                                                xxiv
                       164.308(a)(3)(ii)(B)
                             i. Are there existing procedures for determining that the
                                  appropriate workforce members have access to the necessary
                                  information?
                            ii. Are the procedures used consistently within the organization
                                  when determining access of related workforce job functions?
                   l. Termination Procedures as provided for in § 164.308(a)(3)(ii)(C) xxv
                             i. Do      the    termination       policies      and    procedures      assign
                                  responsibility for removing information system and/or physical
                                  access?
                            ii.   Do the policies and procedures include timely communication
                                  of termination actions to insure that the termination procedures
                                  are appropriately followed?


    5. Documentation of Provider’s policies and procedures demonstrating compliance
       during the calendar year of the breach with Joint Commission Health Care Staffing
       Services Certification (HCSS) xxvi including:
                   a. that the staff person has received orientation from the organization.
                   b. initial and ongoing evaluation of competency
    6. Information technology related issues, including how the electronic health record
       system or supporting systems at rest (i.e. hospitals Longitudinal Medical Record
       System (‘LMR’) or Clinical Data Repository (‘CDR’) and integrated patient portal
       and/or Provider’s medical records storage system(s) work, including security and
       monitoring features, access limitations, and notification procedures regarding
       improper access;
    7. Provider’s knowledge regarding access of Plaintiff’s medical records, including what
       records were accessed, the length of time or number of times they were accessed, what
       information was viewed, and the investigation Provider performed; [Massey




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        deposition stated no actions taken, no follow up with the Police, no mitigation, no
        anti-identity theft offering to Plaintiff]
    8. Provider’s knowledge regarding training that is required or conducted for temporary
        or permanent medical records IT staff, reviewers such as coders and auditors, and
        clinical staff.


    •   (D) Paulette Diaz, et al, vs. MDC Restaurants, LLC et al;
    Case A 701633. Deposition 2016. Department XV class action complaint in the Eighth
    Judicial District Court in and for Clark County, State of Nevada. Served as rebuttal expert
    in a case concerning what constitutes “health insurance,” qualified health insurance plans,
    and those expenses covered generally under insurance and specifically under ACA plans,
    Medicaid and Medicaid waivers and under what conditions they would be covered.
    Apply national perspective to health insurance coverage under The Nevada
    Administrative Code§ 608. and §608.104, Nevada Labor Commissioner's regulations and
    opinions regarding the convolution of the Act, and a review of specific benefits offered
    by an employer of minimum wage workers in comparison to national industry best
    practices and guidelines in respect to the Patient Protection :md Affordable Care Act
    (''ACA"), including Medicaid Expansion in Nevada, Minimum Essential Coverage
    ("MEC"), out-of-pocket limits, and Federal Poverty Level (FPL) guidelines. Areas of
    testimony also included the tenets of cost-sharing subsidies and minimum essential
    coverage (MEC), benchmark plans, generally, as well as within federal laws such as the
    Health Insurance Portability and Accountability Act of 1996 (HIPAA), Employee
    Retirement Income Security Act of 1974 (ERISA) and related issues, including Taft-
    Hartley trusts and Centers for Medicare and Medicaid (CMS).


    •   (D) Natalie Torres v Pocatello Children and Adolescent Clinic, et al.,

    Case CV-2013-1553. Declaration 2015. District Court of Sixth Judicial District of the
    State of Idaho, Bannock County. Expert opinion re: future medical expenses and those
    expenses covered generally under insurance and specifically under ACA plans, Medicaid



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    and Medicaid waivers and under what conditions they would be covered. Review
    deposition testimony of opposing counsel’s healthcare economist, medical experts and
    consider Affordable Care Act and the policies of insurance available under the ACA
    through the Idaho Exchange, as well as Medicaid under a §1915(c) of the Social Security
    Act, Home and Community-Based Services Waiver Medicare-Medicaid Coordinated
    Plan (MMCP), as described in Idaho Law (IDAPA 16.03.17). Determine applicability of
    Prohibition of Preexisting Condition Exclusions (45 CFR § 147.108), Medicare
    Expansion and Health Insurance Exchanges.


    •   (D) Bradley Welding v Franscali and Orthopedic Associates of Northern Illinois
    In the State of Illinois in the Circuit Court of the 17th Judicial Circuit Winnebago
    County, Illinois Case 12 L 323. Expert report 2016. Expert opinion re: accuracy of data
    for future medical expenses including pain management modalities (Ketamine Infusions,
    Continuous Epidural Spinal Infusion, Continuous Spinal Cord Stimulator, Dorsal Root
    Ganglia Stimulator) and supporting medical durable medical equipment (DME) pain
    management device (s). Review deposition testimony of opposing counsel’s healthcare
    economist, medical experts and consider Affordable Care Act and the policies of
    insurance available under the ACA through the Illinois Exchange, Medicaid expansion,
    Federal Poverty Level (FPL) calculations, as well as dual eligible Medicare and Medicaid
    post age 65, Medicaid under a §1915(c) of the Social Security Act, Home and
    Community-Based Services Waiver Medicare-Medicaid Coordinated Plan (MMCP) for
    disabled insureds as described in Illinois Law. Opinion regarding subrogation under the
    Affordable Care Act. Evaluate “metal plan” (bronze, silver, etc.) coverage by actuarial
    value, and cost sharing subsidies to estimate maximum out of pocket for lifetime of
    patient. Condition Exclusions (45 CFR § 147.108).


    •   (P) Giraldo v. Canta and Groceryworks.com et al

    Case CGC-15-544893 Superior Court of California, County of San Francisco. Expert
    report, 2016, trial appearance August 2016. Rebuttal expert regarding whether emergency



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    medical fees including Trauma Activation, ambulance transportation (including mileage,
    supplies, other fees) are reasonable customary and necessary according to industry best
    practices and guidelines. Specifically, evaluate the documentation by an emergency
    response team and whether it supports U.S. Centers for Disease Control (CDC)
    Guidelines for Field Triage of Injured Patients: Recommendations of the National Expert
    Panel on Field Triage, 2011; Federal Interagency Committee on Emergency Medical
    Services (FICEMS), established by Public Law 109-59, and section 10202 (18)
    California Health and Safety Code § 1371.4 a provision of the Knox-Keene Act. Provide
    geographic market analysis of usual customary and reasonable (UCR) fees for
    orthopedic, pain management, medical device (s) and supplies, medication, behavioral
    health, rehabilitation medical expenses; ICD-9 diagnosis, CPT outpatient procedures,
    HCPCS medical supplies, ambulance fee medical coding.

    •   (P) UCLA Medical Center v. Blue Cross Blue Shield

    Arbitration with AAA case no. 722013001112. Expert report, 2015. Pre-arbitration
    expert consultant for mediation with JAMS reference number 1200051271. Provide
    expert opinion on role of Medicare Administrative Contractors (MACs) in providing
    reimbursement rates and the historical pricing guidance and usage of nuclear medicine
    codes. Provide expert opinion on reimbursement for Technical Component (TC) and
    Professional Component (PC) as well as Relative Value Units (RVUs) of diagnostic
    imaging services primarily used for Oncology (Nuclear Medicine, PET-Scan) based on
    specific services by CPT code.


    •   (P) Rhodes v Renown

    CV14-02054 in the Second Judicial District Court of the State of Nevada in and for the
    County of Washoe. Expert report 2015. Patient financial services, Medical coding, usual
    customary and reasonable (UCR) cost of care and documentation of necessity for
    outpatient obstetrics surgical procedure and CPT codes, medical device (s) and supplies.
    Applicable State Statutes include: Uninsured patient discount (NRS 439B.260); Federal




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    statutes and best practices: Fair and Accurate Credit Transactions Act (“FACTA”) Fair
    Credit Reporting Act (FCRA). FACTA §312(a), (FACTA§312(c), FCRA §623(e)(1)),
    FCRA §623(a)(8)); Ability of patients as consumers to dispute information with
    companies that report to credit bureaus; Affordable Care Act ( not for profit hospitals
    required to offer community benefit in exchange for its tax-exempt status2 (see Rev. Rul.
    69-545, 1969-2 C.B. 117.))

    •      (P) John D. Thomson v. HMC Group, Torrance Medical Center

    Et al. CV13 - 03273 D M G United States District Court, Central District of California.
    Expert report and deposition 2015. Expert opinion regarding hospital facility revenues
    for use in cost benefit analysis, damages calculations for surgical suites based on industry
    best practices and statutes associated with damages related to intellectual property rights
    litigation. Evaluation of revenues attributable to surgical suites based on Inpatient
    Prospective Payment System (IPPS) and Outpatient Prospective Payment System (OPPS)
    using defendant provided materials as well as government sources from HHS / CMS.
    Demonstrated expertise in statutory mandates such as Diagnosis Related Groupings
    (DRGs), ICD-9, ICD-10 and CPT codes. Applicable statutes include: Section 1886(d) of
    the Social Security Act and Title Tax Equity and Fiscal Responsibility Act of 1982
    (TEFRA) P.L. 98–21, Approved April 20, 1983, 42: Public Health Part 412, Criteria for
    determining reasonable charges 45 CFR §405.502, 42 CFR 412.2(c)(5) ). § 412.2 “Basis
    of payment” and 42 CFR 412.60 - DRG classification and weighting factors provides the
    method to calculate DRGs.




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        “Examples illustrate whether a nonprofit hospital claiming exemption under section 501(c)(3) of
    the Code is operated to serve a public rather than a private interest; Revenue Ruling 56-185
    modified.” – IRS.gov/pub/irs-tege/rr69-545.pdf (see Rev. Rul. 69-545, 1969-2 C.B. 117.)2




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    •   (D) Joann Hilton v. USA Logistics Carriers, LLC and Jose Juan Soto-Estrada

    Case No. C879214-J, in the 430th District Court of Hidalgo County, Texas. Expert
    report and deposition 2014. Usual customary and reasonable fees, coding and billing and
    resulting charges including CPT, MRI, CPT, ED, ambulance, emergency room (including
    explanation to court of Level 1, Level 2, Level 3, Level 4, Level 5 ED visits), trauma
    activation fees, cost of ER and OR per minute, spinal fusion procedure (orthopedic
    surgical), medical device (s) including surgical screws, surgical screws, supplies,
    chiropractic, pharmacy (NDC codes for medication), pain management, physical therapy,
    and other procedures; duty to mitigate costs, ambulance and non-emergency
    transportation costs, three-day payment rule 42 CFR 412.2(c)(5); evaluate potential
    merits for U.S.C. § 3729. ICD-9, CPT, DRG, HCPCS and hospital revenue coding, duty
    to mitigate damages under Texas statutes, Section 1886(d) of the Social Security Act and
    Title 42: Public Health Part 412—Prospective Payment Systems for Inpatient Hospital
    Services; subrogation issues.

    •   (D) Raul Martinez v. Lee Ill Young

    BC489656, Superior Court of the State of California for the County of Los Angeles,
    Central District. Expert report 2015. Determination of Usual Customary and Reasonable
    (UCR) cost of care medical bills including spinal fusion surgery for orthopedics, and
    diagnostic imaging medical specialties. Evaluate codes and episodic groupings (DRGs),
    ICD-9, CPT for inpatient days, ambulatory procedures, rehabilitation, surgical
    procedures, supplies and device costs, Section 1886(d) of the Social Security Act and
    Title 42: Public Health Part 412—Prospective Payment Systems for Inpatient Hospital
    Services. Patient’s duty to mitigate medical costs.

    •   (D) Jorge Uribe v. City of Maywood and Andrew Serrata

    J.S.I.D. File 10-0416 L.A.S.D. URN 010-00058?3199-055 Los Angeles County District
    Office Bureau of Fraud and Corruption Prosecutions Justice System Integrity Division.
    Determination of Usual Customary and Reasonable (UCR) cost of care for approximately
    $500,000 in medical bills including surgery for internal injuries caused by gunshot



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    wounds – trauma activation fees, ambulance transportation, cardiology, orthopedics,
    pathology / lab tests and interpretations, and diagnostic imaging medical specialties
    including CT and MRI, room charges, operating room minutes, medications, anesthesia,
    evaluation and management (E&M). Evaluate codes and episodic groupings (DRGs) for
    inpatient days, ambulatory procedures, rehabilitation, surgical procedures, supplies and
    device costs, duty to mitigate damages. Relevant statutes, industry standards and best
    practice: Section 1886(d) of the Social Security Act and Title 42: Public Health Part
    412—Inpatient Prospective Payment System (IPPS) for Hospital Services and customary
    rehabilitation charges and reimbursement.



    •   (D) Billrite v Vinay M. Reddy, MD, Spine & Nerve Diagnostic Center.

    34-2014-00166608 SUPERIOR COURT OF THE STATE OF CALIFORNIA COUNTY
    OF SACRAMENTO. Expert report August 2016. Deposition February 2017. Provide
    opinion regarding industry best practices and guidelines for outsourced medical billing
    for pain management, electromyogram (“EMG”) which are used for among other medical
    applications, advanced pain management, diagnostics such as Nerve Conduction Studies
    (NCS), Epidural Steroid Injection (ESI) and Urine Toxicology Studies for a health care
    provider and whether medical coding and billing was being performed in compliance
    with industry best practices and guidelines. Evaluate whether proper coding in
    compliance with California Workers’ Compensation Reform Senate Bill 863 (SB 863)
    and the National Correct Coding Initiative (NCCI) which provides for guidelines on
    proper bundling of services (and, flags incorrectly unbundled services which may be due
    to fraud or up coding). Evaluate claims under California Workers’ Compensation and
    California SB 863 which standardized Workers’ Compensation based on Medicare billing
    rules; Medical Treatment Utilization Schedule (MTUS) which focus on reducing costs
    and utilization for procedures including chronic pain treatment, neck / upper back
    procedures, elbow disorders, forearm, wrist, hand, low back, knee procedures, cost of
    surgical screws and medical device (s).




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    •   (D) Rose v. Herfy's and Lee

    NO. 15-2-14145-7 SEA Superior Court of the State of Washington for King County.
    Expert report and deposition September 2016. Evaluate over $1.5 million in medical bills
    including orthopedic procedures, medical device (s) and supplies rehabilitation and
    skilled nursing billings. Perform regional analysis for Seattle metropolitan area on usual
    customary and reasonable charges from other providers; prepare declaration and expert
    report December 2016, Deposition January 2016. Opinions, basis: OPPS and CPT, APC
    codes, IPPS, DRG inpatient procedures, skilled nursing billing, rehabilitation, orthopedic
    supply, national and regional pricing; customary charge rates when there is a collateral
    source rule. Opine on the usual customary and reasonable cost of care in the Seattle
    market regarding over $1.2 million in medical bills. Billings spanned several years and
    geographic locations. Billings were for several medical specialties including inpatient,
    outpatient, skilled nursing and rehabilitation. Over 4,400 pages of documentation on
    medical supplies, rehabilitation after hospital discharges, etc. including:

        1. Ambulance transportation                               11. Inpatient payment rules
        2. Ambulatory Surgery Center                              12. Medications including AWP and
           (ASC) payment models including                             PBM fees (Tizanidine / muscle
           APCs                                                       relaxant, enoxaparin, pravastatin,
        3. Anesthesiology including                                   insulin,
           anesthesia monitoring time                             13. Operating room time and charges
        4. Blood gas procedures                                   14. Orthopedic surgery and physician
                                                                      bills
        5. Cardiology
        6. CT Scans                                               15. Outpatient payment rules and
                                                                      physician fee schedules
        7. Emergency medicine
                                                                  16. Pain management and pain
        8. Evaluation and Management                                  specific medications and
           (E&M) physician encounters                                 procedures (Ketamine, Morphine,
        9. Home care / home care self-care                            Oxycodone, spinal stimulators)
           education                                              17. Pathology including blood and
        10. Injections                                                other laboratory tests




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        18. Physical Therapy                                      22. Trauma activation fees
        19. Recovery / rehab room time and                        23. Vascular procedures
            charges
                                                                  24. Wheelchairs and other medical
        20. Surgical room time and charges                            supplies
        21. Surgical screws related to                            25. X-Rays
            orthopedic surgery



    •   (D) Derkack v. Boyd

    NO. 15-2-18391-5 KNT SUPERIOR COURT OF THE STATE OF WASHINGTON
    FOR KING COUNTY. Expert declaration September 29th, 2016. Evaluate over $1.5
    million in medical bills including orthopedic procedures, medical device (s) and supplies
    rehabilitation and skilled nursing billings. Perform regional analysis for Seattle
    metropolitan area on usual customary and reasonable charges from other providers;
    prepare declaration and expert report December 2016, Deposition January 2016.
    Opinions, basis: OPPS and CPT, APC codes, IPPS, DRG inpatient procedures, skilled
    nursing billing, rehabilitation, orthopedic supply, national and regional pricing;
    customary charge rates when there is a collateral source rule. Opine on the usual
    customary and reasonable cost of care in the Seattle market regarding over $1.2 million in
    medical bills. Billings spanned several years and geographic locations. Billings were for
    several medical specialties including inpatient, outpatient, skilled nursing and
    rehabilitation. Over 4,400 pages of documentation on medical supplies, rehabilitation
    after hospital discharges, etc. including:

        1. Ambulance transportation                               4. Blood gas procedures

        2. Ambulatory Surgery Center                              5. Cardiology
           (ASC) payment models including                         6. CT Scans
           APCs
                                                                  7. Emergency medicine evaluation
        3. Anesthesiology including                                    and management (E&M)
           anesthesia monitoring time                                  physician encounters including



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          Level I (CPT 99281) Level II                           14. Orthopedic surgery and physician
          (CPT 99282), Level III (CPT                                 bills
          99283) Level IV (CPT 99284)                            15. Outpatient payment rules and
          Level V (CPT 99285) and
                                                                      physician fee schedules
          correlating Ambulatory
                                                                 16. Pain management and pain
          Procedure Codes (APCs) based
                                                                      specific medications and
          on possible interventions and
                                                                      procedures (Ketamine, Morphine,
          potential symptoms / patient
                                                                      Oxycodone, spinal stimulators)
          conditions.
                                                                 17. Pathology including blood and
       8. Evaluation and Management
                                                                      other laboratory tests
          (E&M) physician encounters post
          admission, post discharge                              18. Physical Therapy

       9. Home care / home care self-care                        19. Recovery / rehab room time and
          education                                                   charges

       10. Injections                                            20. Surgical room time and charges

       11. Inpatient payment rules                               21. Surgical screws related to
                                                                      orthopedic surgery
       12. Medications including AWP and
          PBM fees (Tizanidine / muscle                          22. Trauma activation fees
          relaxant, enoxaparin, pravastatin,                     23. Vascular procedures
          insulin,
                                                                 24. Wheelchairs and other medical
       13. Operating room time and charges                            supplies

                                                                 25. X-Rays




                                                                                                      29
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    •   (D) Tamie Lobin v. J.B. Hunt Transport, Inc. and Roosevelt Allen.
    AAA Arbitration No: 01-16-0000-0480. Expert report March 13, 2017. Deposition
    March 13, 2017. Arbitration August 2017. Review the medical billing, medical and other
    relevant documents and provide an opinion based on the usual customary and reasonable
    charges for the bills provided to me for Plaintiff’s past care in 2014 – 2017 in Dallas,
    Texas; opinion of the maximum out of pocket cost (meaning the costs borne by the
    Plaintiff rather than insurance) of care for the Plaintiff if receiving medical benefits as a
    disabled person from Texas Medicaid, Medicaid Waivers and programs for those with
    disabilities, and an opinion of the maximum out of pocket cost of care for the Plaintiff if
    receiving medical benefits from an Affordable Care Act (ACA) qualified health plan, or a
    conforming Taft-Hartley labor management trust fund “grandfathered” health plan under
    the ACA. Based on the life care plan from Plaintiff, provide an opinion based on the
    criteria above regarding future costs of care, including Medicare coverage on and after
    age 65, and conduct a market study in Dallas, Texas to confirm with reasonable certainty
    whether Plaintiff has access to covered benefits for her medical costs, and whether
    contracted health care providers are easily accessible within a 25-mile radius of his home
    who offer care for his insured benefits. Basis included Inpatient Prospective Payment
    Rule (IPPS), Outpatient Prospective Payment Rule, DRG, CPT code values, Medicare
    Geographic Adjustment Factors (GAF), Medicaid reimbursement and claims, clinical
    documentation in support of claims.




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    •     (P) Medical Acquisition Company, Inc. v. Southwest Law Center et al
    Case number BC585918 Superior Court of the State of California, County of Los
    Angeles. Deposition July 2015. Review the medical billing, medical and other relevant
    documents and provide an opinion based on the usual customary and reasonable charges
    for the bills provided to me for Plaintiff’s past care in in the Los Angeles, Orange
    County, and San Francisco Core Based Statistical Areas (CBSA) markets; (meaning the
    costs that should be borne by the Plaintiff rather than insurance). Counsel provided
    specific instructions: “…in the Katiuzhinsky, case, the court dealt with the uninsured
    plaintiff treated on liens. There the appellate court refused to speculate about factoring or
    future lien write downs and found that the plaintiff was not prevented from recovering the
    full amount of bills as long as they were legitimately incurred and plaintiff remained
    responsible for the full amount.” Counsel also explained that, “… in the Bermudez, case,
    the court again dealt with the plaintiff with no medical insurance. There it found the
    billed amounts relevant and admissible in the uninsured context, subject to plaintiff’s
    burden of proof that they are reasonable and customary.” Applied a methodology that
    reviews charges, which is defined as “The dollar amounts a provider sets, or ‘bills’ for
    services rendered ...” Basis included, Outpatient Prospective Payment Rule, DRG, CPT
    code values, Medicare Geographic Adjustment Factors (GAF), whether medical
    procedures were unbundled using the National Correct Coding Initiative (NCCI) which
    uses software algorithms to compare combinations of medical procedure CPT billing
    codes, place of service, date of service to identify disallowable unbundling, Medically
    Necessary procedures (basis NCCI) which can be employed using software algorithms to
    compare combinations of medical procedure CPT billing codes and diagnosis codes to
    identify those medical procedures that may be un-necessary.




    i
        The Security Final Rule defines “security incident” in §164.304 as “the attempted or



                                                                                                         31
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    successful unauthorized access, use, disclosure, modification, or destruction of
    information or interference with system operations in an information system.

    ii
          (a) A covered entity must, in accordance with § 164.306:
     (6)(i) Standard: Security incident procedures. Implement policies and procedures to
    address security incidents.
     (ii) Implementation specification: Response and Reporting (Required).
    Identify and respond to suspected or known security incidents; mitigate, to the extent
    practicable, harmful effects of security incidents that are known to the covered entity; and
    document security incidents and their outcomes.

    iii
          The HIPAA Final Rule also known as “HIPAA Omnibus Rule” provides Covered
    Entities make a determination of whether PHI was “compromised” based on a four factor
    breach evaluation (See 45 CFR Parts 160 and 164 modifications to the HIPAA Privacy,
    Security, Enforcement, and Breach Notification Rules Under the Health Information
    Technology for Economic and Clinical Health Act and the Genetic Information
    Nondiscrimination Act; Other Modifications to the HIPAA Rules; Business Associate
    and Business Associate Agreement published January 25, 2013 and effective March 26,
    2013).

    iv
          The HIPAA Security Rule requires covered entities to implement policies and
    procedures to address security incidents. This includes (i) identifying and responding to
    suspected or known security incidents, (ii) mitigating, to the extent practicable, harmful
    effects of security incidents that are known to the covered entity, and (iii) documenting
    security incidents and their outcomes. (See 45 CFR 164.308(a)(6).)

    v
          “Identify and respond to suspected or known security incidents; mitigate, to the extent
    practicable, harmful effects of security incidents that are known to the covered entity; and
    document security incidents and their outcomes.”

    vi
          § 164.308(b)(4) provides, “Document the satisfactory assurances required by paragraph


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    (b)(1) [the Business Associate Contracts and Other Arrangements] of this section through
    a written contract or other arrangement with the business associate that meets the
    applicable requirements of §164.314(a) [the Organizational Requirements].


    vii
           Since the April 14, 2003 HIPAA Privacy Rule deadline, Covered Entities have been
    required to obtain satisfactory assurances (164.314(a)) that the business associate will
    appropriately safeguard health information. A covered entity that violates satisfactory
    assurances will be in non-compliance with the standards and requirements (164.314(a)).

    viii
           The HIPAA Omnibus Rule makes a Business Associate’s subcontractor a “Business
    Associate.” Prior to the Rule, a business associate was responsible for getting “reasonable
    assurances” from its subcontractors that the subcontractors would comply with the
    provisions of the applicable business associate agreement. After the Rule, a Business
    Associate must enter into a Business Associate Agreement with each of its subcontractors.
    Because the subcontractor is a “Business Associate,” the subcontractor must also comply
    with the Security Rule and some provisions of the Privacy Rule, including entering into
    a business associate agreement with each of its subcontractors.


    Importantly, the Final Rule reaffirms that regardless of whether a Business Associate
    Agreement exists, one is deemed to be a business associate from the moment that person
    or entity creates, receives, maintains, or transmits PHI on behalf of a covered entity or
    another business associate.


    45 CFR 160.103(4)(i) – Definitions provides that an entity including subcontractor for a
    CE is considered a HIPAA Business Associate (BA) if it “…creates, receives, maintains,
    or transmits [PHI] for a function or activity regulated by [HIPAA]” on behalf of a CE.

    ix
          The BAA must meet certain standards. 45 CFR 164.504 (e)(1)(i) Standard: Business
    associate contracts provides:
    (i) The [BAA] contract or other arrangement required by§ 164.502(e)(2) must meet the


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    requirements of paragraph (e)(2), (e)(3), or (e)(5) of this section, as applicable.

    x
         § 164.308(a)(1)(ii)(B) Risk Management is a required implementation specification. It
    requires an organization to make decisions about how to address security risks and
    vulnerabilities. The Risk Management implementation specification states that covered
    entities must: “Implement security measures sufficient to reduce risks and vulnerabilities
    to a reasonable and appropriate level to comply with §164.306(a).”

    xi
           The Office for Civil Rights (OCR) of the Department of Health and Human
    Services (HHS) issued on May 7, 2010, Security Rule Draft Guidance on Risk Analysis.
    This was the first in a “series of guidance documents [that] will assist organizations in
    identifying and implementing the most effective and appropriate administrative, physical,
    and technical safeguards to protect the confidentiality, integrity, and availability of
    electronic protected health information. The materials will be updated annually, as
    appropriate.”

    xii
           The required risk analysis and risk management processes at §§ 164.308(a)(1)(ii)(A) &
    (B) are designed to provide a foundation to guide and assist the Covered Entity to make
    informed decisions regarding which security measures to implement

    xiii
           § 164.308(a)(1)(ii)(A) The Risk Analysis implementation specification requires
    covered entities to: “Conduct an accurate and thorough assessment of the potential risks
    and vulnerabilities to the confidentiality, integrity, and availability of electronic protected
    health information held by the covered entity.” Suggested best practices include
    examining: “What are the human, natural, and environmental threats to information
    systems that contain EPHI? “

    xiv
           § 164.308(a)(1)(ii)(D) The Security Management Process standard also includes the
    Information System Activity Review implementation specification. This required
    implementation specification states that covered entities must:
    “Implement procedures to regularly review records of information system activity, such


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    as audit logs, access reports, and security incident tracking reports.”
    The information system activity review enables covered entities to determine if any EPHI
    is used or disclosed in an inappropriate manner.

    xv
          § 164.312(e)(2)(i) provides, “Implement security measures to ensure that electronically
    transmitted electronic protected health information is not improperly modified without
    detection until disposed of.”

    xvi
            § 164.312(b) provides that a covered entity must consider its risk analysis and
    organizational factors, such as current technical infrastructure, hardware and software
    security capabilities, to determine reasonable and appropriate audit controls for
    information systems that contain or use EPHI.

    xvii
            § 164.312(b) provides “Implement hardware, software, and/or procedural mechanisms
    that record and examine activity in information systems that contain or use electronic
    protected health information.”

    xviii
            The Security Rule defines access in § 164.304 as “the ability or the means necessary
    to read, write, modify, or communicate data/information or otherwise use any system
    resource. (This definition applies to “access” as used in this subpart, not as used in subpart
    E of this part [the HIPAA Privacy Rule]).” Access controls provide users with rights
    and/or privileges to access and perform functions using information systems,
    applications, programs, or files. Access controls should enable authorized users to access
    the minimum necessary information needed to perform job functions. Rights and/or
    privileges should be granted to authorized users based on a set of access rules that the
    covered entity is required to implement as part of § 164.308(a)(4), the Information Access
    Management standard under the Administrative Safeguards section of the Rule.

    xix
           “Implement policies and procedures for authorizing access to electronic protected
    health information that are consistent with the applicable requirements of subpart E of
    this part [the Privacy Rule].” Restricting access to only those persons and entities with a


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    need for access is a basic tenet of security. By implementing this standard, the risk of
    inappropriate disclosure, alteration, or destruction of EPHI is minimized. Covered entities
    must determine those persons and/or entities that need access to EPHI within their
    environment.

    xx
          “Implement procedures to verify that a person or entity seeking access to electronic
    protected health information is the one claimed.”

    xxi
           § 164.308(a)(5) provides that these are industry best practices.
    xxii
            Covered Entities must: “Implement policies and procedures to ensure that all members
    of its workforce have appropriate access to electronic protected health information, as
    provided under [the Information Access Management standard], and to prevent those
    workforce members who do not have access under [the Information Access Management
    standard] from obtaining access to electronic protected health information.”

    xxiii
            Where the Authorization and/or Supervision implementation specification is a
    reasonable and appropriate safeguard for a covered entity, the covered entity must:
    “Implement procedures for the authorization and/or supervision of workforce members
    who work with electronic protected health information or in locations where it might be
    accessed.” Authorization is the process of determining whether a particular user (or a
    computer system) has the right to carry out a certain activity, such as reading a file or
    running a program. Implementation of this addressable implementation specification will
    vary among covered entities, depending upon the size and complexity of the workforce,
    and the information systems that contain EPHI.”

    xxiv
            Covered entities need to address whether all members of the workforce with
    authorized access to EPHI receive appropriate clearances. Where the Workforce
    Clearance Procedure implementation specification is a reasonable and appropriate
    safeguard for a covered entity, the covered entity must:
    “Implement procedures to determine that the access of a workforce member to electronic



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    protected health information is appropriate.”
    In other words, the clearance process must establish the procedures to verify that a
    workforce member does in fact have the appropriate access for their job function. A
    covered entity may choose to perform this type of screening procedure separate from or
    as a part of the authorization and/or supervision procedure.

    xxv
           Where the Termination Procedures implementation specification is a reasonable and
    appropriate safeguard for a covered entity, the covered entity must:
    “Implement procedures for terminating access to electronic protected health information
    when the employment of a workforce member ends or as required by determinations made
    as specified in paragraph (a)(3)(ii)(B) [the Workforce Clearance Procedure] of this
    section.”
    Termination procedures must be implemented to remove access privileges when an
    employee, contractor, or other individual previously entitled to access information no
    longer has these privileges. Whether the employee leaves the organization voluntarily or
    involuntarily, procedures to terminate access must be in place.

    xxvi   Joint Commission, a private group that inspects and accredits nearly 90 percent of the
    nation's hospitals published The Joint Commission Certification Review Process Guide :
    Staffing Services, 2011 – jointcommission.org The process is voluntary but is considered
    an important benchmark of quality and safety for insurers and patients. In order for a
    health care organization to participate in and receive payment from the Medicare or
    Medicaid programs, it must meet the eligibility requirements for program participation,
    including a certification of compliance with the Conditions of Participation (CoPs) or
    Conditions for Coverage (CfCs), which are set forth in federal regulations. The
    certification is based on a survey conducted by a state agency on behalf of the federal
    government, the Centers for Medicare & Medicaid Services (CMS) or a national
    accrediting organization, such as The Joint Commission, that has been approved by CMS
    as having standards and a survey process that meets or exceeds Medicare’s requirements.
    Health care organizations that achieve accreditation through a Joint Commission deemed


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    status survey are determined to meet or exceed Medicare and Medicaid requirements.
    Source:
    https://www.jointcommission.org/facts_about_federal_deemed_status_and_state_re
    cognition/




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